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           44 ° Park City ...             44 ° Park City ...          43 ° Jackson, WY                                                                        




  Hurricane Matthew Recap: Destruction From the Caribbean to the United States
  Oct 9 2016 05:00 AM EDT     weather.com




  Story Highlights

  Matthew formed near the Windward Islands on Sept. 28, 2016.


  It went on to leave a path of destruction from the Caribbean to the Southeast U.S.


  On Oct. 9, 2016, Matthew ⇨nally moved away from the U.S. coastline and became post-tropical.




  Matthew formed from a tropical wave that pushed o∀ the African coast in late September. That tropical wave was dubbed Invest 97L just southwest of the Cape
  Verde Islands on Sept. 25.

  (MORE: How to Help Matthew's Victims)




                                                                                                                                                       Enlarge
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                                                                                                 Matthew's track history.

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  It took a few days for that system to organize as it moved westward in the Atlantic. About three days later, however, the system gained su∀cient organization to be
  named Tropical Storm Matthew near the Windward Islands.                  Weather. News. Videos.                                                                     
                                                                                            Sign up for our FREE daily
                                                                                            newsletter.
  Once Matthew reached the eastern Caribbean, it became a hurricane and rapidly intensi⇨ed. Its peak intensity was late Sept. 30 into early Oct. 1 when it reached
  Category 5 strength with 160 mph winds.                   YourEmail@Address.com            SUBMIT

  Matthew then made landfall in Haiti and eastern Cuba on Oct. 4 as a Category 4.
                                                                          Start typing...
  From there, Matthew hammered the Bahamas Oct. 5-6 as a Category 3 and 4 hurricane.

  The southeastern United States was then hit hard by Hurricane Matthew as it moved very close to the coasts of Florida, Georgia, South Carolina and North Carolina.
  Matthew made one o∀cial U.S. landfall on Oct. 8 southeast of McClellanville, South Carolina, as a Category 1 hurricane with 75 mph winds.




  Satellite, radar, and statistics on Hurricane Matthew's landfall on October 8, 2016.


  Matthew was declared post-tropical by the National Hurricane Center as it moved away from North Carolina on Oct. 9.

  Matthew's U.S. Storm Reports
  Storm Surge

  On Oct. 7 in Florida, a peak surge of 9.88 feet above normal was measured at an NOS tide gauge at Fernandina Beach, Florida.

  Storm surge ∀ooding a∀ected the St. Augustine area, including major ∀ooding on Anastasia Island where water was reported to be 2.5 feet above ground level. To the
  south in nearby Flagler Beach, Florida, parts of A1A were washed out by the storm surge.




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                                                                  Russell Colburn                                       Follow
                                                                   @RussellANjax
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                                                   20 people, including children, stuck in #StAugustine bed &
                                                   breakfast. They say they're getting worried, as the surge is
                                                   about to come in.
                                                   11:21 AM ­ 7 Oct 2016

                                                             1,298            746


  The NWS-Jacksonville conducted a storm survey and found a new inlet was carved between Marineland and Matanzas Inlet, between Palm Coast and St. Augustine
  Beach, Florida.
                                                                                    Weather. News. Videos.                                                                    
  The St. Johns River in northeast Florida reached its highest level on record at up
                                                                             Sign Shands
                                                                                     for ourBridge, along with 3 to 4.3 feet of storm surge inundation reported at the Racy
                                                                                            FREE daily
                                                                             newsletter.
  Point, Red Bay Point and I-295 bridge tide gauges. Early in the morning on Oct. 8, the St. Johns River was ∀owing backwards.
                                                                   YourEmail@Address.com              SUBMIT
  Matthew's storm surge coupled with high tide lead to a record tide level at Ft. Pulaski, Georgia, early Oct. 8, and storm surge inundation roughly waist-deep was
  reported in parts of Charleston, South Carolina.
                                                                  Start typing...




                                                          Mark Sudduth                                            Follow
                                                          @hurricanetrack

                                                   Yesterday and right now. The Battery, Charleston South
                                                   Carolina.
                                                   8:40 AM ­ 8 Oct 2016
                                                             1,139            947


  A storm surge of just under 8 feet was recorded at Ft. Pulaski, Georgia, between Savannah and Tybee Island, according to NOAA/National Ocean Service data. Fort
  Pulaski set a new record tide level of 12.57 ft MLLW (above normal low tide), which occurred two hours after high tide. This beats the old record going back to
  Hurricane David in 1979.

  Tide levels at the Charleston Harbor peaked at their third highest level on record with the morning high tide on Oct. 8, the highest levels, there, since Hurricane Hugo
  in 1989 and over a foot higher than the early October 2015 ∀ood event. Water was entering homes on West Ashley in Charleston, according to the National Weather
  Service.


                                                          NWS Charleston, SC                                      Follow
                                                          @NWSCharlestonSC

                                                   Tide level at Fort Pulaski has reached 12.22 ft MLLW, which sets
                                                   a preliminary all­time record! #gawx #savwx
                                                   2:59 AM ­ 8 Oct 2016

                                                             75          25


  On the afternoon of Oct. 8, water levels were topping 5 feet above normal at Oyster Landing, near Georgetown, South Carolina, and at Myrtle Beach. In southern
  North Carolina, water levels on the Cape Fear River at Wilmington shattered a record from Hurricane Hazel in 1954.

  The Springmaid Pier in Myrtle Beach was heavily damaged, a section of the Oak Island (North Carolina) pier was also also damaged by waves, and the Jacksonville
  Beach pier was also damaged.




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                                                        Kaitlin Wright                                              Follow
                                                        @wxkaitlinw

                                                 Pictures of the basically gone Springmaid Pier in Myrtle Beach.
                                                 Pictures by John Krajc
                                                 2:23 PM ­ 8 Oct 2016

                                                          411            261


  On the morning of Oct. 9, major sound side storm surge ∀ooding a∀ected the Outer
                                                                       Weather. News.Banks
                                                                                      Videos.of North Carolina.                       
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                                                        NHC_Surge                                                   Follow
                                                        @NHC_Surge

                                                 Storm surge flooding from Hatteras Village this morning
                                                 8:30 AM ­ 9 Oct 2016
                                                          219            119


  Wind Reports

  Here are some of the top wind gust reports from Matthew:

        Cape Canaveral, Florida: 107 mph (on an elevated tower at 54 feet above the ground)
        Tybee Island, Georgia: 96 mph
        Jennette's Pier, North Carolina (Outer Banks): 91 mph
        Daytona Beach, Florida: 91 mph
        Hilton Head Island, South Carolina: 88 mph
        Jacksonville Area: 87 mph
        South Ponte Vedra Beach, Florida: 84 mph
        Duck, North Carolina: 83 mph
        Beaufort, South Carolina: 83 mph
        Fort Pulaski, Georgia: 79 mph
        Folly Beach, South Carolina: 76 mph
        Oceana NAS, Virginia: 75 mph
        Myrtle Beach, South Carolina: 74 mph
        Savannah, Georgia: 71 mph
        Melbourne, Florida: 70 mph
        Charleston, South Carolina: 69 mph
        Florence, South Carolina: 67 mph
        Lumbertgon, North Carolina: 66 mph
        Fayetteville, North Carolina: 62 mph
        Sumter, South Carolina: 61 mph
        Orlando Area: Gusts over 60 mph




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  Interestingly, some of the strongest wind gusts in the Carolinas occurred after the center of Matthew passed by.

  Rainfall Reports

  Fayetteville, North Carolina, picked up over 8 inches of rain in 6 hours on the morning of Oct. 8 and totaled over 14 inches of rain from this event. As you would
  expect, major ∀ooding materialized.

  The NWS o∀ce in Wilmington, North Carolina, issued its ⇨rst ever ∀ash ∀ood emergency early Oct. 8 for Horry County, including the Myrtle Beach Grand Strand and
  Conway, South Carolina, due to the combination of rainfall and storm surge ∀ooding. Flash ∀ood emergencies are only issued during rare, exceptionally dangerous
  events.

  Matthew brought widespread ∀ash ∀ooding and record river ∀ooding to eastern North Carolina where hourly rainfall estimates from radar were as high as 7 inches
  per hour. Buildings were ∀ooded, roads washed out, and sections of Interstates 95 and 40 were ∀ooded in the Tar Heel State.




                                                            Derek Medlin                                              Follow
                                                            @DerekMedlin

                                                      From Johnston County, cars and trucks driving through water on
                                                      I­95...be smart, people. Don't do this. #Matthew
                                                      5:03 PM ­ 8 Oct 2016
                                                              259          163


  (MORE: Matthew's Record River Flooding)

  Here are some of the rainfall totals from Matthew, according to NOAA's Weather Prediction Center:

        Savannah (Hunter U.S. Army Air⇨eld), Georgia: 17.49 inches
        William O Huske Lock 3, North Carolina: 15.65 inches
        Goldsboro, North Carolina: 15.24 inches
        Fayetteville, North Carolina: 14.82 inches
        Beaufort, South Carolina: 14.04 inches
        Reevesville, South Carolina: 12.90 inches
        Virginia Beach, Virginia area: 12.16 inches
        Su∀olk, Virginia: 11.24 inches
        Hilton Head Island, South Carolina: 11.00 inches
        Charleston, South Carolina: 10.48 inches
        Folly Field, South Carolina: 9.82 inches
        Orlando, Florida (Sanford): 8.99 inches
       Jacksonville, Florida: 6.75 inches
        N. Myrtle Beach, South Carolina: 5.67 inches
       Daytona Beach, Florida: 5.29 inches

  Savannah International Airport had their second wettest calendar-day rain on record dating to 1871 on October 7.
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  Estimated rainfall from Matthew.


  Among the notable rainfall ∀ooding reports, included:

        Johnston County, North Carolina: Multiple water rescues; people trapped in homes, on top of vehicles
        Fayetteville, North Carolina: I-95 ∀ooded
        Near Coats Crossroads, North Carolina: Six-mile stretch of Interstate 40 closed
        Raleigh, North Carolina: Several feet of water on Atlantic Avenue and Hodges Street
        Near Clarkton, North Carolina: Vehicle swept away in road washout; 2 killed
        Guilford, Halifax, Harnett, Nash, Sampson, Wayne Counties, North Carolina: Numerous roads ∀ooded and closed.
        Sellers, South Carolina: Cars, homes, town hall ∀ooded
        Holly Hill, South Carolina: Water up to 3 feet deep ∀ooded buildings.
        Near Cameron, South Carolina: Road washed out
        Columbia, South Carolina: Numerous roads closed due to ∀ooding, downed powerlines, trees
        College Park, South Carolina: Water entering some homes




                                                          Will Kennedy                                               Follow
                                                          @willkennedynews

                                                  We're still 40 miles from the SC coast. Flood waters continue to
                                                  rise. This is near Marion. #HurricaneMatthew is dumping serious
                                                  rain. #wccb
                                                  1:00 PM ­ 8 Oct 2016
                                                            53          33


  Caribbean and Bahamas Storm Reports, Recap
  On the day Matthew was named (Sept. 28), George F.L. Charles Airport on St. Lucia picked up 9.21 inches of rain.
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  On the south side of the island, Hewanorra Int'l Airport picked up 13.19 inches of rain in just 12 hours from 8 p.m. Sept. 28 through 8 a.m. Sept. 29, according to the
  Antigua Met Service.
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                                                  Flooding during Tropical Storm Matthew in St. Lucia
                                                  youtu.be/caZ0dkAFJ7s via @YouTube
                                                  6:56 AM ­ 29 Sep 2016
                                                           49      17


  A wind gust to 89 mph was reported in St. Pierre, Martinique, Sept. 28. Sustained winds of 39 mph were reported on the island of Barbados.




                                                         Raphael Elliot                                         Follow
                                                         @rairizarry

                                                  #TropicalStormMatthew #martinique right now
                                                     @adamonzon #Matthew sustained winds of about 70 mph
                                                  112 km
                                                  2:10 PM ­ 28 Sep 2016

                                                           40      20


  Matthew strengthened to a rare Category 5 late Sept. 30, becoming the ⇨rst Category 5 Atlantic basin hurricane since Hurricane Felix in early September 2007.

  (MORE: Category 5 Hurricanes Prior to Matthew)

  According to Colorado State University tropical scientist Dr. Phil Klotzbach, Matthew became the lowest latitude Category 5 hurricane in the Atlantic on record
  (beating the old record set by Ivan in 2004).

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  Some outer rainbands triggered ∀ash ∀ooding in Jamaica Oct. 2, hundreds of miles away from the center of Matthew.


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                                                  4:20am ET: Buoy          42058  Winds rebounding
                                                                               newsletter.                  quickly in the
                                                  southern eyewall. #Matthew
                                                                   YourEmail@Address.com                SUBMIT

                                                  Min pressure from the eye pass: 942.8mb.
                                                                Start typing...
                                                  4:21 AM ­ 3 Oct 2016

                                                           13          9


  Hurricane Matthew's eye ⇨rst came ashore in the Greater Antilles in the western Tiburon Peninsula of Haiti near the town of Les Anglais around 7 a.m. EDT Oct. 4,
  according to the National Hurricane Center.




                                                         NHC Atlantic Ops                                                Follow
                                                         @NHC_Atlantic

                                                  #Matthew made landfall near Les Anglais, Haiti at 7 am EDT.
                                                  This is the first Category 4 #hurricane landfall in Haiti since Cleo
                                                  in 1964.
                                                  7:50 AM ­ 4 Oct 2016
                                                           1,372            527


  Matthew was the ⇨rst Category 4 Haiti landfall since Hurricane Cleo in 1964, and only the fourth such intensity or stronger hurricane to track within 65 nautical miles
  of southern Haiti's Tiburon Peninsula since the 1960s, according to NOAA's Best Tracks Database.

  (MORE: Devastation in Haiti)

  Hurricane Matthew made a second landfall near Juaco, Cuba, around 8 p.m. EDT Oct. 4. An uncon⇨rmed wind gusts to 155 mph was reported in the town of Baracoa,
  Cuba, in Matthew's eyewall.




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                                                       CycloforumsPR                                         Follow
                                                       @CycloforumsPR

                                                Huracán Matthew entra a Cuba por el pueblito de Jauco en
                                                Punta de Maisí, Guantánamo, con vientos de 140 mph.
                                                7:56 PM ­ 4 Oct 2016 · Puerto Rico
                                                          41      8
                                                                           Weather. News. Videos.                                                                  
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  After moving away from Cuba, Matthew passed through the Bahamas.
                                                              YourEmail@Address.com           SUBMIT
  Late Oct. 5, a 119 mph sustained wind was clocked at Exuma International Airport. Sustained winds over 100 mph were also clocked at George Town, also on Exuma.

  Winds gusted to 85 mph in Nassau on Oct. 6 as Matthew moved    through.
                                                          Start typing...




                                                       Jon Passantino                                        Follow
                                                       @passantino

                                                Remarkable observation tonight from GGT Airport as #Matthew
                                                rakes the Bahamas
                                                10:34 PM ­ 5 Oct 2016

                                                          158         86


  Radar indicates that Matthew made landfall along the western tip of Grand Bahama Island prior to 8 p.m. EDT on Oct. 6 with extremely high winds battering that
  island in the eyewall.

  In the 9 p.m. hour on Oct. 6, Grand Bahama reported a sustained wind of 64 mph. Freeport in the northwest Bahamas reported sustained winds of 100 mph with
  gusts up to 121 mph as the northern eyewall lashed the area.

  Settlement Point reported sustained winds of 79 mph and gusts as high as 105 mph.

  MORE ON WEATHER.COM: Hurricane Matthew Photos
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    Chris Moore walks down Martin Luther King Blvd. on October 12, 2016 in Lumberton, North Carolina. Hurricane Matthew's heavy rains ended over the weekend, but ∀ooding is still
    expected for days in North Carolina. (Sean Rayford/Getty Images)




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